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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                      Plaintiff,                     Civil Action No. 2:15-cv-998-JRG-JRP

               v.                                       CONSOLIDATED LEAD CASE

 NVIDIA CORPORATION, et al.,

                      Defendants.


                                   ORDER OF DISMISSAL

       Before the Court is Plaintiff Display Technologies, LLC (“Plaintiff”) and Defendant Valve

Corporation’s (“Defendant”), Joint Motion to Amend Dismissal.

       The Court, having considered the Parties’ Motion, finds that the motion should be
 .
GRANTED

             IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff’s claims in this

              action are dismissed with prejudice subject to the terms of that certain agreement

              entitled “SETTLEMENT AND LICENSE AGREEMENT” dated January 11,

              2016. Defendant’s counterclaims remain dismissed without prejudice.

             IT IS FURTHER ORDERED that all attorneys’ fees and costs are to be borne by

              the party that incurred them and that this Court retains jurisdiction over this matter

             for enforcement of the settlement agreement in force between the parties.
          SIGNED this 3rd day of January, 2012.
          SIGNED this 14th day of March, 2016.




                                                       ____________________________________
                                                       ROY S. PAYNE
                                                       UNITED STATES MAGISTRATE JUDGE
